                                                               Case 2:21-cv-00177-SRB Document 46 Filed 11/30/21 Page 1 of 14




                                                          1
                                                          2
                                                          3
                                                          4
                                                          5
                                                          6
                                                          7
                                                          8
                                                          9
                                                          10
Gallagher & Kennedy, P.A.
                            Phoenix, Arizona 85016-9225
                             2575 East Camelback Road




                                                          11
                                   (602) 530-8000




                                                          12
                                                          13
                                                          14
                                                          15
                                                          16
                                                          17
                                                          18
                                                          19
                                                          20                                          P
                                                          21
                                                          22
                                                          23
                                                          24
                                                          25
                                                          26
                                                               Case 2:21-cv-00177-SRB Document 46 Filed 11/30/21 Page 2 of 14




                                                          1
                                                          2
                                                          3
                                                          4
                                                          5
                                                          6
                                                          7
                                                          8
                                                          9
                                                          10
Gallagher & Kennedy, P.A.
                            Phoenix, Arizona 85016-9225
                             2575 East Camelback Road




                                                          11
                                   (602) 530-8000




                                                          12
                                                          13
                                                          14
                                                          15
                                                          16
                                                          17
                                                          18
                                                          19
                                                          20
                                                          21
                                                          22
                                                          23
                                                          24
                                                          25
                                                          26
                                                                                                   1
     Case 2:21-cv-00177-SRB Document 46 Filed 11/30/21 Page 3 of 14




1
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22     •
23
24
25     •
26

                                         2
     Case 2:21-cv-00177-SRB Document 46 Filed 11/30/21 Page 4 of 14




1
2
3
4      •
5
6
7
8      •
9
10
11     •
12
13
14
15
16     •
17
18
19
20
21
22
23
24     •
25
26

                                         3
     Case 2:21-cv-00177-SRB Document 46 Filed 11/30/21 Page 5 of 14




1
2
3      •
4
5
6      •
7
8
9
10
11
12
13     •
14
15
16
17
18
19     •
20
21
22
23
24     •
25
26

                                         4
     Case 2:21-cv-00177-SRB Document 46 Filed 11/30/21 Page 6 of 14




1
2
3      •
4
5
6
7
8
9
10     •
11
12
13     •
14
15
16
17
18
19
20
21
22
23
24
25
26

                                         5
     Case 2:21-cv-00177-SRB Document 46 Filed 11/30/21 Page 7 of 14




1
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

                                         6
     Case 2:21-cv-00177-SRB Document 46 Filed 11/30/21 Page 8 of 14




1
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

                                         7
     Case 2:21-cv-00177-SRB Document 46 Filed 11/30/21 Page 9 of 14




1
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

                                         8
     Case 2:21-cv-00177-SRB Document 46 Filed 11/30/21 Page 10 of 14




1
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

                                         9
     Case 2:21-cv-00177-SRB Document 46 Filed 11/30/21 Page 11 of 14




1
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

                                         10
     Case 2:21-cv-00177-SRB Document 46 Filed 11/30/21 Page 12 of 14




1
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20                                   Conclusion
21
22
23
24
25
26

                                         11
     Case 2:21-cv-00177-SRB Document 46 Filed 11/30/21 Page 13 of 14




1
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

                                         12
     Case 2:21-cv-00177-SRB Document 46 Filed 11/30/21 Page 14 of 14




1
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

                                         13
